     Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 1 of 71



                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS



NEURAL MAGIC, INC.,

     Plaintiff,

                   v.                  Civil Action No. 1:20-cv-10444-DJC

FACEBOOK, INC. and ALEKSANDAR
ZLATESKI,

     Defendants.



          DECLARATION OF DR. DAVID KAELI IN SUPPORT OF
DEFENDANTS’ OPPOSITION TO NMI’S MOTION FOR PRELIMINARY INJUNCTION
            Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 2 of 71




                                               TABLE OF CONTENTS

I.     INTRODUCTION ...............................................................................................................4
       A.        Table of Exhibits ......................................................................................................4
       B.        Summary of Qualifications ......................................................................................7
       C.        Summary of Opinions ..............................................................................................9

II.    UNDERSTANDING OF THE GOVERNING LAW........................................................10

III.   TECHNICAL BACKGROUND........................................................................................12
       A.        Neural Networks ....................................................................................................12
       B.        Matrix Multiplication .............................................................................................15
       C.        Matrix Density and Sparsity ..................................................................................16
       D.        Compilers and Assemblers ....................................................................................17
       E.        Instructions, Clock Cycles, and Pipelining ............................................................19
       F.        Floating Point Arithmetic ......................................................................................20
       G.        Fused Multiply-Add (FMA) ..................................................................................21
       H.        Memory Hierarchy and Cache ...............................................................................22
       I.        Loop Unrolling.......................................................................................................24
       J.        CPUs and GPUs .....................................................................................................26

IV.    SPARSE MATRIX MULTIPLICATION APPROACHES WERE NOT
       PLAGUED BY THE ALLEGED PROBLEMS DR. SCOTT POSITS ............................27
       A.        The Liu Paper .........................................................................................................28
       B.        The Industry Knew That Loop Unrolling Computations On CPUs Were
                 Workable ................................................................................................................36
       C.        The Industry Knew That Loop Unrolling Techniques For GPUs Could Be
                 Applied To CPUs ...................................................................................................40
       D.        The Industry Did Not Prefer Compress Sparse Row Encoding Over Other
                 Sparse Processes, And Even If It Did, That Is Irrelevant ......................................41

V.     NMI FAILS TO DEMONSTRATE THAT THE INFORMATION AT ISSUE
       CONSTITUTES TRADE SECRETS ................................................................................42
                                                                                                t .........................................42
                                                                                            ...............................................51
                 “                                                                     ....................................................54
         Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 3 of 71



        D.
                                                                        .................................................................57

VI.     NMI AND DR. SCOTT FAIL TO SHOW MISAPPROPRIATION ................................58
        A.      The Accused Code Does Not Show An “Unexpected Shift” In Approach
                For FBGEMM........................................................................................................58
        B.      Dr. Scott’s Flawed Analysis Of NMI’s and Facebook’s Assembly Code
                Does Not Show Misappropriation .........................................................................60
        C.      Dr. Scott’s Flawed Source Code Inspection Does Not Show
                Misappropriation ....................................................................................................62
        D.      One Typo In The FBGEMM_LOG_CODE Does Not Demonstrate
                Misappropriation ....................................................................................................65

VII.    DR. SCOTT FAILS TO SHOW THAT THE ALLEGED TRADE SECRETS
        WERE NOT GENERALLY KNOWN ..............................................................................66

VIII.   NMI AND DR. SCOTT FAIL TO SHOW THAT NMI’S ALLEGED TRADE
        SECRETS PROVIDE A COMPETITIVE ADVANTAGE OVER
        INFORMATION KNOWN IN THE INDUSTRY ............................................................69
            Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 4 of 71



I.         INTRODUCTION

           1.      My name is David Kaeli. I have been retained as an expert by Facebook, Inc.

(“Facebook”) in connection with the above-captioned lawsuit, to provide my analysis and

conclusions on certain technical aspects of this dispute. If called upon to testify, I would do so

consistent with the statements and opinions contained in this declaration.

                A. Table of Exhibits

           2.      The documents I discuss in this declaration are identified in the “Table of Exhibits”

below. True and correct copies of these documents are attached to this declaration, as the exhibits

noted. Where applicable, links to documents are provided.

                                          TABLE OF EXHIBITS
     Ex.                                            Description
     A.     Dong & David, Dnnmark: A deep neural network benchmark suite for gpus, Proceedings
            of the General Purpose GPUs 63 (2017)
     B.     Dong, et al., Characterizing the microarchitectural implications of a convolutional
            neural network (cnn) execution on gpus, Proceedings of the 2018 ACM/SPEC
            International Conference on Performance Engineering (2018)
     C.     Mojumder, et al., Profiling DNN Workloads on a Volta-based DGX-1 System, 2018 IEEE
            International Symposium on Workload Characterization (IISWC) (2018)
     D.     Tavana, et al., Exploiting adaptive data compression to improve performance and
            energy-efficiency of compute workloads in multi-GPU systems, 2019 IEEE International
            Parallel and Distributed Processing Symposium (IPDPS) (2019)
     E.     Rivera & Kaeli, Characterizing the relationship between sparse matrix preconditioners
            and the storage hierarchy (2006)
     F.     David R. Kaeli, Ph.D. Curriculum Vitae
     G.     U.S. Patent App. Pub. No. 2019/0156214
     H.     Dickson, The limits and challenges of deep learning, BDTechTalks.com (Feb. 27, 2018)
     I.     U.S. Patent App. Pub. No. 2017/0316312
     J.     WO Patent App. Pub. No. 2020/046859
     K.     U.S. Patent App Pub. No. 2018/0046900
      Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 5 of 71




                                  TABLE OF EXHIBITS
Ex.                                        Description
L.    Deshpande, Beginner’s Guide to Understanding CNNs (July 20, 2016)
      Available at: https://adeshpande3.github.io/A-Beginner%27s-Guide-To-Understanding-
      Convolutional-Neural-Networks/
M.    Kågström, et al., High performance GEMM-based level-3 BLAS: Sample routines for
      double precision real data, University of Umeå (1991)
      Available at: http://www.cs.cornell.edu/cv/
      ResearchPDF/High.Perf.GEMM.Based.Level3.BLAS.pdf
N.    Read, A method of computing the fast Fourier transform (1968)
      Available at:
      https://scholarship.rice.edu/bitstream/handle/1911/89715/RICE0746.pdf?sequence=1
O.    Cook & Gilbert, Parallel neural network simulation using sparse matrix techniques,
      24.1-5 Microprocessing and Microprogramming 621 (1988)
P.    Patterson & Hennessy, Computer Organization and Design, 5th Ed., 13-15 (2014)
      (“Patterson Hennessy”).
Q.    Linzer & Feig, Modified FFTs for fused multiply-add architectures, 60.201 Mathematics
      of Computation 347 (1993)
      Available at: https://www.ams.org/journals/mcom/1993-60-201/S0025-5718-1993-
      1159169-0/S0025-5718-1993-1159169-0.pdf
R.    U.S. Pat. App. Pub. No. 2016/0239706
S.    Alwani, et al., Fused-layer CNN accelerators, 2016 49th Annual IEEE/ACM
      International Symposium on Microarchitecture, IEEE (2016)
      Available at: https://pdfs.semanticscholar.org/5682/
      8bb7ad555eed8d43e6d3eba4ee39e862defe.pdf
T.    Liu et al., Sparse Convolutional Neural Networks, IEEE Conference on Computer Vision
      and Pattern Recognition (CVPR) (2015)
      Zlateski Ex. L
U.    FbgemmSpMM.cc (March 1, 2020) at lines 667-683
V.    “util.h” source code file
W.    Park et al., High-Performance Algebraic Multigrid Solver Optimized for Multi-Core
      Based Distributed Parallel Systems, Supercomputing (2015)
X.    Park, Deep Learning Inference in Facebook Data Centers: Characterization,
      Performance Optimizations and Hardware Implications, arXiv (Nov. 2018)
Y.    Herruzo, Applying Loop Tiling and Unrolling to a Sparse Kernel Code, ICCS (2004)
Z.    Williams et al., Optimization of Sparse Matrix-Vector Multiplication on Emerging
      Multicore Platforms, Supercomputing (2007)
      Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 6 of 71




                                   TABLE OF EXHIBITS
Ex.                                         Description
AA. Bartosz D. Wozniak, et al., GiMMiK–Generating bespoke matrix multiplication kernels
    for accelerators: Application to high-order Computational Fluid Dynamics, Computer
    Communications 202 (2016)
BB. Elsen, et al., Fast Sparse Convnets, arXiv (2019)
CC. Navarro et al., Block algorithms for sparse matrix computations on high performance
    workstations, International Conference on Supercomputing (1996)
DD. Mendlson, Compile Time Instruction Cache Optimizations (1994)
    Available at: https://link.springer.com/content/pdf/10.1007/3-540-57877-3_27.pdf
EE. Hennessy & Patterson, Computer Architecture: A Quantitative Approach, 5th Ed. (2012)
FF. Mueller, Compiler Support for Software-Based Cache Partitioning, ACM SIGPLAN
    Notices (1995)
GG. Whaley, Automatically Tuned Linear Algebra Software, Supercomputing (1998)
HH. Guo, Applications of the streamed storage format for sparse matrix operations,
    International Journal of High Performance Computing Applications (2014)
II.   Lam, Software Pipelining: An Effective Scheduling Technique for VLIW Machines,
      SIGPLAN (1988)
JJ.   Lam, The Cache Performance and Optimization of Blocked Algorithms, ASPLOS 1991,
      1-2
KK. Jia, Bit Bucket repository Winograd&FFT Conv
    Available at: https://bitbucket.org/jiazhentim/winograd-fft-
    conv/src/master/code/include/znn/jit/gemm/avx512.hpp
LL. Mark Buxton, Haswell New Instruction Descriptions Now Available!, Intel.com (Jun. 13,
    2011)
    Available at: https://software.intel.com/en-us/blogs/2011/06/13/haswell-new-instruction-
    descriptions-now-available
MM. Facebook Blogpost (May 2, 2018)
    Available at: https://caffe2.ai/blog/
NN. Caffe2 Merges With PyTorch (Apr 2, 2018)
    Available at: https://medium.com/@Synced/caffe2-merges-with-pytorch-a89c70ad9eb7
         Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 7 of 71




            B. Summary of Qualifications

       3.      I am currently the Director of Northeastern University’s Computer Architecture

Research Laboratory and a Distinguished Professor of Electrical and Computer Engineering. I

have been a faculty member at Northeastern since September 1993, in the Electrical and Computer

Engineering Department.

       4.      For over thirty years, I have pursued research across a broad range of computer

architectures and technologies, including memory systems, storage systems, memory bus design,

and secure computing systems. I have published over 350 refereed journal and conference papers

in the areas of computer architecture and computer security. I also have supervised forty Ph.D.

theses in these areas.

       5.      I am a Fellow of the Institute of Electrical and Electronic Engineers (IEEE) and a

member of the Computer Society. I am a Distinguished Scientist in the Association of Computing

Machinery (ACM). I presently serve as an elected member on the Executive Committee of the

IEEE Technical Committee on Computer Architecture, and I have served as elected chair for in

the past for two terms. I presently serve as an Associate Editor for IEEE Transactions on Parallel

and Distributed Systems, ACM Transactions on Architecture and Code Optimization, and

Elsevier’s Journal on Parallel and Distributed Computing. On May 1, 2020 I will assume the

position of Editor-in-Chief of the ACM Transactions on Architecture and Code Optimization.

       6.      From 2011 to the present, I have served as Chief Science Advisor of Apposable

Software. From 2007-2011, I served as Chief Technology Officer of NUIC Technologies, where

I worked on secure computing platforms. From 2005-2011, I also consulted for Akorri Networks.

In 2000, I served as a consultant for InCert Corporation.
         Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 8 of 71



       7.      Before I joined Northeastern’s faculty in 1993, I spent twelve years working for

IBM. From 1981-1986, I worked on the design and delivery of the IBM System/370 3090

mainframe system. From 1986-1993, I worked at the IBM T.J. Watson Research Center, designing

and analyzing IBM Personal Systems 2 computers and associated software. During that time, I

also worked on the design of a new Application System/400 multi-processor system.

       8.      I am an active educator and researcher in the broader field of Computer

Architecture. I was a contributing author (chapter 6 on parallel processing) of the Patterson and

Hennessy text, Computer Organization and Design, 4th and 5th editions. I have conducted

academic research and published papers related to matrix multiplication algorithms. For example,

in 2017, I co-authored an article describing a set of techniques for benchmarking neural network

performance, including neural networks utilizing general matrix multiplication (GEMM)

algorithms. See Ex. A, Dong & Kaeli, Dnnmark: A deep neural network benchmark suite for gpus,

Proceedings of the General Purpose GPUs 63 (2017). As another example, in 2018, I co-authored

an article describing GEMM as a technique for performing 2-dimensional convolution in neural

networks. See Ex. B, Dong, et al., Characterizing the microarchitectural implications of a

convolutional neural network (cnn) execution on gpus, Proceedings of the 2018 ACM/SPEC

International Conference on Performance Engineering (2018). As another example, in 2018, I co-

authored a paper discussing effective parallelization approaches for both dense and sparse matrices

for five different neural network models. See Ex. C, Mojumder, et al., Profiling DNN Workloads

on a Volta-based DGX-1 System, 2018 IEEE International Symposium on Workload

Characterization (IISWC) (2018) (describing the scalability of deep neural networks on a high

performance system).
         Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 9 of 71



       9.       I also have conducted academic research and published papers related to sparse

matrices in neural networks. For example, I co-authored a paper discussing algorithms for sparse

matrices in neural networks. See Ex. D, Tavana, et al., Exploiting adaptive data compression to

improve performance and energy-efficiency of compute workloads in multi-GPU systems, 2019

IEEE International Parallel and Distributed Processing Symposium (IPDPS) (2019) (describing

“algorithms” that “exploit sparse data and sparse data structures,” and noting “that for typical data

sets, 50-70% of the output data values after activation layers are changed to zero.”). And in 2006,

I co-authored an article discussing sparse matrix algorithms and memory, including cache. See

Ex. E, Rivera & Kaeli, Characterizing the relationship between sparse matrix preconditioners and

the storage hierarchy (2006).

       10.      I obtained a Bachelor of Science degree in Electrical Engineering from Rutgers

University, a Master of Science degree in Computer Engineering from Syracuse University, and a

Ph.D. in Electrical Engineering from Rutgers University.

       11.      A copy of my CV is attached to this declaration as Exhibit F.

             C. Summary of Opinions

       12.      I was asked to evaluate the evidence presented to date in this case and render my

opinions regarding whether Plaintiff Neural Magic, Inc. (“NMI”) has demonstrated that Dr.

Zlateski and Facebook misappropriated any NMI trade secrets.

       13.      Specifically, I was asked to evaluate whether NMI and its declarants, including Dr.

Michael Scott, had demonstrated that (1) the information NMI claims as proprietary comprises

trade secrets, (2) Facebook and Dr. Zlateski misappropriated that information; and (3) the

information NMI claims as proprietary could offer a competitive advantage over information
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 10 of 71



already known to engineers and other persons of skill with knowledge of machine learning,

artificial intelligence, matrix multiplication, and related optimization techniques.

       14.      As explained below, I have reached the conclusion that NMI has not demonstrated

that Dr. Zlateski and Facebook misappropriated any NMI trade secrets because:

             A. The information that NMI claims comprises trade secrets includes only information
                that was well-known publicly before Dr. Zlateski left NMI in July 2019;

             B. NMI and Dr. Scott fail to show that Facebook is using what NMI claims is a trade
                secret; and

             C. NMI and Dr. Scott do not provide any evidence that the alleged trade secrets
                provided NMI a competitive advantage over information already known to
                engineers and other persons of skill with knowledge of machine learning, artificial
                intelligence, matrix multiplication, and related optimization techniques.

II.    UNDERSTANDING OF THE GOVERNING LAW

       15.      I understand that NMI has asserted a number of claims against Facebook and Dr.

Aleksandar Zlateski, including claims for violations of the Defend Trade Secrets Act (“DTSA”)

and the Massachusetts Uniform Trade Secrets Act (“MUTSA”), and a claim for breach of contract

against Dr. Zlateski.

       16.      I understand that the DTSA defines the term “trade secret” as

                all forms and types of financial, business, scientific, technical,
                economic, or engineering information, including patterns, plans,
                compilations, program procedures, programs, or codes, whether
                tangible or intangible, and whether or how stored, compiled, or
                memorialized        physically,     electronically,      graphically,
                photographically, or in writing if—(A) the owner thereof has taken
                reasonable measures to keep such information secret; and (B) the
                information derives independent economic value, actual or
                potential, from not being generally known to, and not being readily
                ascertainable through proper means by, another person who can
                obtain economic value from the disclosure or use of the information.

18 U.S.C. § 1839(3).
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 11 of 71



       17.     I understand that the DTSA defines the term “misappropriation” as the “ acquisition

of a trade secret of another by a person who knows or has reason to know that the trade secret was

acquired by improper means,” or the “disclosure or use of a trade secret of another without express

or implied consent by a person who—(i) used improper means to acquire knowledge of the trade

secret; (ii) at the time of disclosure or use, knew or had reason to know that the knowledge of the

trade secret was—(I) derived from or through a person who had used improper means to acquire

the trade secret; (II) acquired under circumstances giving rise to a duty to maintain the secrecy of

the trade secret or limit the use of the trade secret; or (III) derived from or through a person who

owed a duty to the person seeking relief to maintain the secrecy of the trade secret or limit the use

of the trade secret; or (iii) before a material change of the position of the person, knew or had

reason to know that—(I) the trade secret was a trade secret; and (II) knowledge of the trade secret

had been acquired by accident or mistake.” 18 U.S.C. § 1839(5).

       18.     I understand that the DTSA provides that “improper means” “(A) includes theft,

bribery, misrepresentation, breach or inducement of a breach of a duty to maintain secrecy, or

espionage through electronic or other means; and (B) does not include reverse engineering,

independent derivation, or any other lawful means of acquisition.” 18 U.S.C. § 1839(6).

       19.     I understand that the requirements applicable to NMI’s claims under the MUTSA

are substantially similar to the requirements under the DTSA.

       20.     I understand that to prevail on its claim of misappropriation, NMI must establish

that (1) the information at issue constitutes trade secrets, (2) NMI took reasonable measures to

secure the confidentiality of that information, and (3) Facebook and Dr. Zlateski obtained the trade

secrets through improper means.
         Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 12 of 71



        21.     I further understand that to be trade secret information, the allegedly

misappropriated information cannot be public knowledge or information generally known in the

industry, and it must derive independent economic value (DTSA) and/or provide an economic

advantage (MUTSA) from not being generally known, e.g., the alleged trade secrets must provide

some competitive advantage over information already known in the industry.

        22.     I understand that to obtain a preliminary injunction, NMI must show, among other

things, that it is likely to succeed on the merits of its claims.

III.    TECHNICAL BACKGROUND

        23.     An overview of topics that are relevant to NMI’s claims are presented in the

following subsections.

        A.      Neural Networks

        24.     Deep learning is a technique for classifying information using layered neural

networks that imitate the human brain. “Neural networks (NN) . . . are computing systems inspired

by biological computing systems, but operating using manufactured digital computing

technology.” See Ex. G, U.S. Patent App. Pub. No. 2019/0156214 at ¶ 3. They try to emulate the

way a human brain learns, e.g., they analyze inputs, build patterns from those inputs, which can

be labeled, and then use those labeled patterns to, for example, recognize objects when new inputs

are received.     See, e.g., Ex. H, Dickson, The limits and challenges of deep learning,

BDTechTalks.com (Feb. 27, 2018) (“Neural networks have a set of input units, where raw data is

fed. This data can be, for example, pictures, sound samples, or written text. The inputs are then

mapped to the output nodes, which determine the category to which the input information belongs.

For instance, a neural network can determine that the fed picture contains a cat, or that the small
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 13 of 71



sound sample was the word ‘Hello.’”), https://bdtechtalks.com/2018/02/27/limits-challenges-

deep-learning-gary-marcus/.

       25.     In a mathematical model, a “neural network” includes a plurality of layers,

including an input layer, an output layer, and multiple “hidden” layers between the input layer and

output layer. See Ex. I, U.S. Patent App. Pub. No. 2017/0316312 at ¶ 22. Each layer has a plurality

of neurons connected to neurons in neighboring layers, with weights on the connections (i.e.,

edges) that govern the flow of information in the neural network. Information is processed

progressing from one layer to the next in a sequence, as depicted below:




Ex. I, Fig. 2. As shown in Figure 2, there are three stages for each layer in the neural network:

multiplication of neuron inputs Xi of a layer with weights Wij, addition of multiplication results

and bias vector Bj, and application of an activation function to produce an output Yj to the next

layer in the pipeline, according to the equation shown in Figure 2. Ex. I, Fig. 2.
         Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 14 of 71



        26.     “[A] convolutional neural network (CNN) is a deep, feed-forward [neural]

network,” Ex. G, U.S. Patent App. Pub. No. 2019/0156214 at ¶ 5, which is “particularly useful for

visual and speech applications,” Ex. J, WO Patent App. Pub. No. 2020/046859 at ¶ 5. For example,

a CNN “may learn to identify images that contain cats by analyzing example images that have

been manually labeled as ‘cat’ or ‘not a cat’ and using the results to identify cats in other images.”

Ex. J at ¶ 8.

        27.     A convolutional neural network may have three types of layers: (1) one or more

convolutional layers, each of which applies one or more filters and/or a non-linear activation

function data from the input layer; (2) one or more pooling (i.e., sub-sampling) layers, each of

which aggregates information or data among a set of neighbors of a neuron of the current layer;

and (3) one or more classification layers, each of which performs a linear or multi-layer perceptron

operation on the neural network and applies a non-linear activation function to the output from the

neuron. Ex. I, U.S. Patent App. Pub. No. 2017/0316312 at ¶ 23.

        28.     These layers are the “core of the CNN computation and are characterized by a set

of filters.” Ex. K, U.S. Pat. App Pub. No. 2018/0046900 at ¶ 51.

        29.     During a “training phase,” “[t]he values of these filters are the weights that are

trained using a training set” of data for the neural network. Ex. K at ¶ 51. Then, during a

“classification” phase, “a new image (in the case of image recognition) is presented to the neural

network, which classifies images into the training categories by computing in succession each of

the layers in the neural network.” Ex. K at ¶ 51. The system is trained to recognize images of a

cat. Then the system is presented new images, and it determines, based on its training, if the

images contain a cat.
          Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 15 of 71



          30.   Neural networks grew to prominence at least as early as 2012, and ever since then,

a host of companies, including Facebook, have been using machine learning and artificial

intelligence applications based on CNNs in their services. See Ex. L, Deshpande, Beginner’s

Guide to Understanding CNNs (July 20, 2016), available at https://adeshpande3.github.io/A-

Beginner%27s-Guide-To-Understanding-Convolutional-Neural-Networks/.

          B.    Matrix Multiplication

          31.   A neural network, such as a convolutional neural network, is modelled as an

abstract mathematical object. The “neurons” of the system are not physical neurons but are instead

data that can be executed on a computer processor. Ex. J, WO Patent App. Pub. No. 2020/046859

at ¶ 6.

          32.   A neural network “may be translated physically to a CPU (e.g. a traditional[]

architecture computer, such as a PC) or graphics processing units (GPUs, specialized processors).”

Ex. J at ¶ 6. In either case, the processor models/simulates the neural network by performing “a

sequence of matrix operations where entries in the matrix represent neurons and/or links (e.g.,

artificial neurons connected by edges or links) or other NN [neural network] parameters and matrix

functions represent functions of the NN.” Ex. J at ¶ 6. “Thus, developing fast matrix multiplication

algorithms is key to the performance of NNs.” Ex. J at ¶ 7.

          33.   Fundamentally, a matrix is a two-dimensional rectangular array of numbers

arranged in rows and columns. When multiplying two matrices, the number of columns in the first

matrix should be equal to the number of rows in the second matrix. The resulting matrix, the

product matrix, is calculated by taking the dot product of each row in the first matrix with a

corresponding column of the second matrix. In other words, the element in the ith row and jth

column of the product matrix is the dot product of the ith row of the first matrix and the jth column
         Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 16 of 71



of the second matrix. For example, the figure below shows that the C matrix element at the ith

row and the jth column is calculated by taking a dot product of the ith row of the A maxtrix and

the jth column of the B matrix.




         34.       Algorithms for matrix multiplication have been studied for decades. For instance,

the “GEMM,” or “General Matrix Multiply algorithm,” has been used in linear algebra, machine

learning, and countless other fields since the early 1990s. See, e.g., Ex. M, Kågström, Charles F.

Van Loan, and Per Ling, High performance GEMM-based level-3 BLAS: Sample routines for

double         precision    real    data,    University    of    Umeå      (1991),     available    at

http://www.cs.cornell.edu/cv/ResearchPDF/High.Perf.GEMM.Based.Level3.BLAS.pdf.

         C.        Matrix Density and Sparsity

         35.       A matrix can be characterized as dense or sparse. A sparse matrix has most of its

elements as zero, whereas a dense matrix has most of its elements as nonzero. Ex. I, U.S. Pat.

App. Pub. No. 2017/0316312 at ¶ 26. “Sparsity” is just the fraction of zeros in a layer’s weight

and input activation matrices. Ex. K, U.S. Pat. App. Pub. No. 2018/0046900 at ¶ 52.

         36.       Sparse matrix multiplication is broadly used in mathematics and computer science,

to multiply two matrices together (matrix multiplication), while reducing the number of operations

required by accounting for, and ignoring, zeros in those matrices (sparse matrix multiplication).

         37.       Sparse matrix multiplication has been used in computing since the 1960s. See, e.g.,

Ex. N, Read, A method of computing the fast Fourier transform (1968), available at
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 17 of 71



https://scholarship.rice.edu/bitstream/handle/1911/89715/RICE0746.pdf?sequence=1 (describing

applications of sparse matrices to accelerate fast Fourier transforms).

       38.     Sparse matrix multiplication has been applied to neural networks in particular since

the late 1980s. See, e.g., Ex. O, Cook & Gilbert, Parallel neural network simulation using sparse

matrix techniques, 24.1-5 Microprocessing and Microprogramming 621 (1988).

       D.      Compilers and Assemblers

       39.     Hardware in a computer can only execute simple low-level instructions. In terms

of a computer program, the highest level of abstraction is pseudocode, which is a human-readable

description of what an algorithm or program does expressed in English as opposed to a

programming language.       Below pseudocode is source code, which is a human-readable

programming language such as C, Java, or Python. At the lowest level, binary machine code in

the form of 1s and 0s actually causes the machine to carry out the pseudocode operations.

       40.     To go from a complex computer program source code, such as a deep learning

application that simulates a neural network, to instructions that can execute on hardware, one needs

software called a compiler that interprets or translates high-level operations from programming

languages such as C, Java, or Python into simple computer instructions represented in assembly

language. See Ex. P, Patterson and Hennessy, Computer Organization and Design, 5th Ed., 13-15

(2014) (“Patterson Hennessy”).

       41.     A compiler enables a programmer to write a high-level language expression in

source code, such as:

       A = A + B.

The compiler compiles “A + B” by parsing the high-level language and producing an intermediate

representation in the form of graphs. Optimizations will be performed on the intermediate code,
         Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 18 of 71



and the assembly code will be generated. For example, for the high-level language statement “A

= A + B,” the resulting assembly language could look like this:

         add A, B.

“Unlike programs in high-level languages, the operands of arithmetic instructions are restricted;

they must be from a limited number of special locations built directly in hardware called registers.”

Ex. P, Patterson Hennessy at 66.

         42.    A further program called an “Assembler” converts the assembly language into

binary machine language, which is a relatively straightforward process. Ex. P, Patterson Hennessy

at 66. Some compilers even “cut out the middleman” and produce binary machine language

directly without the need of a separate assembler program. Ex. P, Patterson Hennessy at 66.

         43.    The “instruction set architecture” of a computer is the interface between the

hardware (e.g., the CPU) and the software. Ex. P, Patterson Hennessy at 22. “The instruction set

architecture includes anything programmers need to know to make a binary machine language

program work correctly, including instructions, I/O devices, and so on.” Ex. P, Patterson Hennessy

at 22.

         44.    Compilers also utilize code libraries. Code libraries include routines that are

common to multiple programs. They allow programmers to reuse code without needing to rewrite

it for each program. Ex. P, Patterson Hennessy at 123-124.

         45.    Just-in-time compilers (JIT compilers) wait to generate portions of needed machine

code until just before the code needs to be executed, unlike traditional compilers, which compile

an entire program before that program is run. JIT compilers have been known and used for

decades.
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 19 of 71



       E.       Instructions, Clock Cycles, and Pipelining

       46.      Virtually all modern computers use a clock to determine when events take place.

Ex. P, Patterson Hennessy at 33. The discrete time intervals when these events take place are

called “clock cycles,” and the length of time for a clock cycle to complete is referred to as the

“clock period.” In a modern CPU running at speeds of 1-4 GHz, the clock period is typically on

the order of <1 nanosecond. Ex. P, Patterson Hennessy at 33.

       47.      “Pipelining” is a “technique in which multiple instructions are overlapped in

execution.” Ex. P, Patterson Hennessy at 272. Pipelining “exploits parallelism among instructions

in a sequential instruction stream.” Ex. P, Patterson Hennessy at 285. “Pipelining improves

performance by increasing instruction throughput, as opposed to decreasing the execution time of

an individual instruction.” Ex. P, Patterson Hennessy at 277. Pipelining “is nearly universal” in

modern processors. Ex. P, Patterson Hennessy at 272.

       48.      A classic pipelining technique includes the following five steps:

             1. Fetch instructions from memory.

             2. Read registers while decoding the instructions. Reading and decoding may occur
                simultaneously.

             3. Execute the operation or calculate an address.

             4. Access an operand in data memory.

             5. Write the result into a register.

Ex. P, Patterson Hennessy at 274.1 In ideal conditions, a pipelining technique can result in up to

a five-fold increase in performance. Ex. P, Patterson Hennessy at 274.




1
 A “register” is a small storage location in which instructions or other data are held for
processing.
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 20 of 71



       49.     A modern processor, such as an Intel Core i7 920 processor, can include at least

14-stages in the pipeline, with “up to six micro-operations per clock cycle.” Ex. P, Patterson

Hennessy at 346; see also Ex. P, Patterson Hennessy at 347-349 (describing the eight steps for an

Intel “x86” instruction execution).

       F.      Floating Point Arithmetic

       50.     Performing arithmetic with real numbers on computers, i.e., arithmetic using

numbers with fractions, such as pi, e, or 3.15576 x 109, requires the use of “floating point”

numbers. Ex. P, Patterson Hennessy at 196.

       51.     In a floating point number, the binary point is not fixed, as it is for integers. Ex. P,

Patterson Hennessy at 197. “Just as in scientific notation,” floating point “numbers are represented

as a single nonzero digit to the left of the binary point.” Ex. P, Patterson Hennessy at 197. Floating

point numbers are represented with two components: an exponent and a fraction. Ex. P, Patterson

Hennessy at 197. In a 32-bit data word, for instance, some portion (e.g., 8 bits) stores the exponent,

and a second portion (e.g., 23 bits) stores the fraction. Ex. P, Patterson Hennessy at 197.

“[I]ncreasing the size of the fraction enhances the precision of the fraction, while increasing the

size of the exponent increases the range of numbers that can be represented.” Ex. P, Patterson

Hennessy at 197.

       52.     Improving the performance of arithmetic operations with floating point numbers is

key to speeding up many applications on CPUs. Thus, many modern CPUs are designed to support

special instruction sets for performing these operations efficiently, such as the “Advanced Vector

Extensions” (“AVX”) instruction set. Ex. P, Patterson Hennessy at 510. “AVX supports the

simultaneous execution of four 64-bit floating point numbers.” Ex. P, Patterson Hennessy at 510.
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 21 of 71



AVX developed into AVX2, which has been supported since the “Haswell” generation of x86

microprocessors from Intel, released in 2013.2

       G.     Fused Multiply-Add (FMA)

       53.    “A floating-point instruction that performs both a multiply and an add, but rounds

only once after the add,” is referred to as a fused multiply add instruction. Ex. P, Patterson

Hennessy at 220.

       54.    “[I]nstead of performing two rounds – after the multiply and then after the add –

which would happen with separate instructions, the multiply add instruction can perform a single

rounding after the add.” Ex. P, Patterson Hennessy at 220. “A single rounding step increases the

precision of multiply add.” Ex. P, Patterson Hennessy at 220.

       55.    FMA instructions are defined in the IEEE 754-2008 standard and were introduced

with Intel’s AVX architecture in 2011. Ex. P, Patterson Hennessy at 220, 225.

       56.    FMA operations have been known since the early 1990s. See, e.g., Ex. Q, Linzer

& Feig, Modified FFTs for fused multiply-add architectures, 60.201 Mathematics of Computation

347 (1993), available at https://www.ams.org/journals/mcom/1993-60-201/S0025-5718-1993-

1159169-0/S0025-5718-1993-1159169-0.pdf.

       57.    In sum, FMA instructions perform two floating point operations—a multiply

operation and an add operation on numbers with an unfixed number of digits after the decimal

point—in a single step.




2
  See Ex. LL, Buxton, Haswell New Instruction Descriptions Now Available!, Intel.com (June
13, 2011), available at https://software.intel.com/en-us/blogs/2011/06/13/haswell-new-
instruction-descriptions-now-available.
         Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 22 of 71



        H.      Memory Hierarchy and Cache

        58.     “A memory hierarchy consists of multiple levels of memory with different speeds

and sizes.” Ex. P, Patterson Hennessy at 375. “The faster memories are more expensive per bit

than the slower memories and thus are smaller.” Ex. P, Patterson Hennessy at 375.

        59.     Typically, the closer the memory is to the CPU, the faster (and smaller) the memory

is, as illustrated in the figure below:




Ex. P, Patterson Hennessy at 378.

        60.     The term “cache” is “used to refer to any storage managed to take advantage of

locality of access.” Ex. P, Patterson Hennessy at 384.

        61.     Caches are ubiquitous and “first appeared in research computers in the early 1960s

and in production computers later in that same decade; every general purpose computer built today,

from servers to low-power embedded processors, includes caches.” Ex. P, Patterson Hennessy at

384. A cache can hold instructions, data, or both.
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 23 of 71



       62.     “In a typical modern CPU processor there may be several layers of cache,” referred

to as “L1,” “L2,” and so forth. Ex. J, WO Patent App. Pub. No. 2020/046859 at ¶ 11. “For caches

and memory, the computer-to-memory ratio (CMR) may be defined as the number of compute

operations that one must perform per item brought into a given memory level (main memory or

cache) to hide the latency of bringing the data item in (and out).” Ex. J at ¶ 11. The number of

computation operations per unit of data is referred to as “arithmetic intensity.” Ex. J at ¶ 11.

       63.     A cache “hit” or “reuse” occurs when the CPU is able to reuse instructions or data

stored in one of the CPU’s caches. Conversely, a cache miss occurs when a “request for data from

the cache … cannot be filled because the data is not present in the cache.” Ex. P, Patterson

Hennessy at 392. A cache miss can “stall the entire processor, essentially freezing the contents of

the temporary and programmer-visible registers” while waiting for the data to load from memory.

Ex. P, Patterson Hennessy at 392-393. Thus, over the decades since the concept of caching was

first introduced in computers, there have been “many software optimizations” that have been

“invented that can dramatically improve performance by reusing data within the cache and hence

lower miss rates due to improved temporal locality.” Ex. P, Patterson Hennessy at 413.

       64.     For example, in the context of matrices, it is well known that cache performance

can be improved by storing the matrix in memory using block algorithms so that accesses to the

matrix data elements are stored sequentially. Ex. P, Patterson Hennessy at 413. Rather than

“operating on entire rows or columns” of the matrix, “block algorithms operate on submatrices or

blocks.” Ex. P, Patterson Hennessy at 413. “The goal is to maximize accesses to the data loaded

into the cache before the data are replaced; that is, improve temporal locality to reduce cache

misses.” Ex. P, Patterson Hennessy at 413. The number of cache misses depends on the size N of

the rows and columns of the matrices and the size of the cache. Ex. P, Patterson Hennessy at 414.
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 24 of 71



       65.     In one exemplary algorithm provided in Patterson Hennessy (2014), the algorithm

performs most efficiently when the cache is designed to hold all three matrices (two input matrices

A and B and the product matrix C). Ex. P, Patterson Hennessy at 414. “If the cache can hold one

N-by-N matrix and one row of N, then at least the ith row of A and the array B may stay in the

cache. Less than that and misses may occur for both B and C.” Ex. P, Patterson Hennessy at 414.

“To ensure that the elements being accessed can fit in the cache, the original code is changed to

compute on a submatrix.” Ex. P, Patterson Hennessy at 441.; see generally Ex. P, Patterson

Hennessy at 413-418.

       66.     In addition to “reducing cache misses, blocking can also be used to help register

allocation, … [b]y taking a small blocking size such that the block can be held in registers.” Ex.

P, Patterson Hennessy at 415.

       67.     Blocking algorithms are also referred to as “tiling.” “Tiling is used in conventional

systems to improve performance.” Ex. R, U.S. Pat. App. Pub. No. 2016/0239706 at ¶ 118. “The

data is processed one tile,” i.e., one “2D block of data,” at a time. Ex. R at ¶ 118. “It is desirable

for the size of tiles to be small enough so that the data fits in (L1, L2) cache.” Ex. R at ¶ 118. It

is well known that “deep convolutional neural network implementations use tiling at the per-layer

level.” Ex. R at ¶ 119. “For example, some layers use matrix multiplication and are implicitly

tiled.” Ex. R at ¶ 119.

       I.      Loop Unrolling

       68.     Loop unrolling is a compiler technique used to extract greater performance from

computers running loops. Ex. P, Patterson Hennessy at 338. It is a well-known technique.

       69.     In the example below, typical, non-unrolled code performs an addition of two N-

dimensional vectors A and B and stores the result into vector C:
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 25 of 71




As shown above, in each iteration, the loop operates on one element of the vector, via operation

“C[i] = A[i] + B[i].” When this loop is run on a processor, the add instruction for the (k+1)th

iteration cannot start until the operation “i = i + 1” in kth iteration is finished, limiting operations

that can be executed in parallel, thereby limiting the performance.

       70.     The unrolled version of this code is shown below:




Here, the loop is unrolled four times. As a result, in each iteration, the loop operates on four

elements of the vector. Similar to the original loop, the add operations for C[i], C[i+1], C[i+2],

and C[i+3] still can only proceed after the operation “i = i + 4” from the last iteration completes.

However, the key difference from the original loop is that once the new i value is computed, all

four add operations can execute in parallel, achieving higher performance than the original loop.

       71.     Loop unrolling “create[s] more opportunities for instruction-level parallelism,”

meaning that it increases the number of instructions that are available for execution in parallel,

which shortens the execution time and increases performance. Ex. P, Patterson Hennessy at 352-

353.

       72.     I also note, because it is pertinent to NMI’s claims, that the combination of AVX

instruction sets with loop unrolling was well-known and used to improve matrix multiplication

performance years before July 2019:
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 26 of 71




Ex. P, Patterson Hennessy at 354 (comparing three versions of matrix multiplication).

       73.     Similarly, the use of tiling and loop unrolling “to reorder computations and memory

accesses, increasing throughput and reducing data transfer” were known techniques, including in

the field of neural networks specifically. Ex. S, Alwani, et al., Fused-layer CNN accelerators,

2016 49th Annual IEEE/ACM International Symposium on Microarchitecture, IEEE (2016),

available                                                                                       at

https://pdfs.semanticscholar.org/5682/8bb7ad555eed8d43e6d3eba4ee39e862defe.pdf.

       J.      CPUs and GPUs

       74.     A “CPU” is a central processing unit. A “GPU” is a graphics processing unit.

       75.     Before July 2019, it was widely known that both CPUs and GPUs could be used to

with neural network and matrix multiplication applications. See, e.g., Ex. J, WO 2020/046859 at

¶ 7 (“In both GPU and CPU architectures, the neural network’s weights and inputs may be

represented as matrices, and the computation of the network (e.g. the inference or run-time

operation) includes a sequence of multiplications of these matrices.”).
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 27 of 71



       76.     Indeed, Dr. Zlateski’s Ph.D. thesis, which he wrote and submitted in 2016, before

joining NMI, focused on “fast and scalable algorithms” for “training and applying convolutional

neural networks” on “CPUs and GPUs.” Zlateski Decl., Ex. A, Zlateski, Scalable Algorithms for

Semi-Automatic Segmentation of Electron Microscopy Images of the Brain Tissue, 3 (2016). And

Dr. Zlateski’s post-doctoral work built on the principles set forth in his Ph.D. thesis. This is

reflected in Dr. Zlateski’s publications, see Zlateski Decl. ¶¶ 7-8 (collecting a number of Dr.

Zlateski’s papers), as well as source code that Dr. Zlateski posted to BitBucket in 2017—before

joining NMI—which is discussed more below.

IV.    SPARSE MATRIX MULTIPLICATION APPROACHES WERE NOT PLAGUED
       BY THE ALLEGED PROBLEMS DR. SCOTT POSITS

       77.     After providing a technology overview but before discussing NMI’s alleged trade

secrets, Dr. Scott posits that before NMI, a number of problems plagued known approaches to

dealing with machine learning applications of sparse matrix multiplication. See Scott Decl. ¶¶ 79-

87 (discussing alleged “problems with known approaches.”). Specifically, Dr. Scott opines that

when Dr. Zlateski joined Facebook, the industry believed that (i) performing loop unrolling

computations on CPUs was “unworkable due to . . . poor utilization of memory bandwidth and

instruction cache space,” Scott Decl. ¶ 83; (ii) known loop unrolling techniques for GPUs could

not be applied to CPUs because CPUs lack features GPUs possess (e.g., “very high memory

bandwidth and a very large number of internal registers”), Scott Decl. ¶ 86; and (iii) use of

compress sparse row encoding was preferable to other sparse matrix multiplication processes,

Scott Decl. ¶ 87.

       78.     For reasons discussed in this Section, I disagree with Dr. Scott’s assertion that the

above-listed problems plagued sparse matrix multiplication processes known in the industry before
           Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 28 of 71



July 2019, when Dr. Zlateski left NMI. Also, for reasons discussed in Section V below, I disagree

that NMI solved these alleged problems.

           79.   Before addressing the problems that Dr. Scott alleges existed in the industry, I note

that Dr. Scott recognizes that this was a crowded field and that by 2018, “a mass of research ha[d]

been proposed in th[e] area” of “train[ing] sparse networks,” e.g., “with less parameters and float

operators,” to address “memory requirement[s], computation cost[s] and over-fitting” issues

associated with sparse learning methods for deep neural networks. Scott Decl. ¶ 79. I further

provide an overview of one example paper from this “mass of research” that is particularly

pertinent to NMI’s claims— Liu et al., Sparse Convolutional Neural Networks, IEEE Conference

on Computer Vision and Pattern Recognition (CVPR) (2015) (Ex. T, “Liu”)

           80.   As its title suggests, Liu is directed to sparse computations for neural networks. For

reasons discussed below and further discussed in Section V, it is my opinion that any person with

knowledge of and experience with sparse matrix multiplication and JIT compiler optimization

techniques and the Liu paper (or any of a number of other, similar papers) would have understood

and been able to readily implement the alleged algorithms and code that NMI claims are trade

secrets.

           A.    The Liu Paper

           81.   Liu discloses “an efficient sparse matrix multiplication algorithm on CPU for

Sparse Convolutional Neural Networks (SCNN) models.” Ex. T, Liu at Abstract.

           82.   In Liu’s algorithm, once a network is fully trained, convolutional kernels remain

constant while an input matrix varies, and “the location of non-zero elements are known and can

be encoded directly in the compiled multiplication code.” Ex. T, Liu at 809; see also Ex. T, Liu

at 809 (“[T]he convolutional kernels are treated as sparse matrices.”). Liu discloses that its sparse

matrix multiplication algorithm “achieves significant speedups” on CPUs. Ex. T, Liu at Abstract.
         Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 29 of 71



        83.      Liu provides that its algorithm was implemented “on x86_64 CPU micro-

architecture with the Advanced Vector Extension (AVX) . . . available on both Intel and AMD’s

CPUs after 2011.” Ex. T, Liu at 809. The implementation used “OpenBLAS,” “an open source

dense linear algebra library.” Ex. T, Liu at 809.

        84.      Liu discloses that to reduce “memory latency,” “input matrices are first divided into

blocks that fit into the L2 cache of CPU.” Ex. T, Liu at 809. Liu’s Figure 2 provides a graphical

illustration of this process:




Ex. T, Liu at Fig. 2.

        85.      In Figure 2, the matrices being multiplied in Lui (top row) are too big to fit inside

the L2 cache (labeled box in bottom row). Therefore, the open source “Matrix Multiplication

Algorithm in OpenBLAS” divides the matrices “into blocks which can fit in L2 cache.” Ex. T,

Liu at Fig. 2.

        86.      I note that in Liu’s Figure 2, the C matrix tile (bottom row, left) contains 4 x 4 = 16

sub-blocks, and Liu teaches that the black, hatched sub-block of the matrix C tile represents eight

256-bit registers, meaning it holds 256 bytes of data ((8 x 256 bit) / 8 bit/byte = 256 bytes of data).

Ex. T, Liu at 809. The entire matrix C tile therefore occupies 4 KB of L2 cache (256 x 16 = 4,096
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 30 of 71



bytes or 4 KB). The matrix A and matrix B tiles have the same size as the matrix C tile (as shown

in Figure 2), so a person of skill in the industry would have understood that in Liu’s

implementation, only 12 KB (3 (tiles) x 4 KB) of L2 cache is occupied. Such a person also would

have known that 12 KB is a small fraction of the 256 KB L2 cache of the Intel CPU that Liu used

in implementing its sparse matrix multiplication algorithm. This is relevant to NMI’s alleged

Trade Secret #1 (as discussed more in Section V).

       87.     Liu discloses that in dense matrix multiplication, “[e]ach block of one input matrix

is . . . multiplied with each block of the other input matrix in the following way: One block is

divided to 8-elements wide row strips and the other block is divided to 8-elements wide column

strips. Then every two strips are multiplied to generate an 8 x 8 tiny square which can be stored

in 8 AVX registers.” Ex. T, Liu at at 809. Liu further discloses that in sparse matrix multiplication,

A and B matrices are “divided into blocks and strips in the same way.” Ex. T, Liu at 810.

       88.     Liu provides that when matrix A and sparse matrix B are multiplied, the structure

of sparse matrix B can be encoded into a program, such that locations of non-zero elements are

known and one can “skip the zeros,” to perform sparse matrix multiplication. Ex. T, Liu at 810.

       89.     Liu’s Figure 3 illustrates how Liu’s algorithm generates code for multiplying dense

matrix A (not shown) and sparse matrix B (shown):
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 31 of 71




Ex. T, Liu at Fig. 3.

       90.     Liu reports on the experimental results obtained from applying Liu’s sparse matrix

multiplication algorithm on two 1024x1024 matrices, one is dense and the other is sparse (meaning

it has a lot of zero elements, similar to the matrix shown in Figure 3(a) above with its many white

squares). Liu also teaches that 8 rows of matrix C are processed at a time because there are 8 AVX

vector registers. Ex. T, Liu at 809-10.

       91.     I note that because Liu’s algorithm processes 8-row horizontal bands, and each row

in the band has 1024 elements, when the sparse matrix is not sparse, there are at most 8,192 FMA

instructions (8 x 1024 = 8,192) for an 8-row sparse band of the sparse matrix. Assuming 10% of

the sparse matrix contains non-zero elements, which is consistent with the results Liu presents (see

Ex. T, Liu at Fig. 7), the processing of an 8-row band of the sparse matrix will generate only 819
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 32 of 71



FMA instructions. This translates to less than 6 KB (assuming 7-byte instructions) or less than 8

KB (assuming 10-byte instructions). Either would fit into the 32 KB L1 cache of the Intel i7-

3930k CPU Liu uses. See Ex. T, Liu at 812. This is relevant to NMI’s alleged Trade Secret #1

(as discussed more in Section V).

       92.      I further note that a person of skill in the industry would have understood that this

set of generated FMA instructions applies to every 8 columns of the dense, input matrix. See Ex.

T, Liu at 812 (stating that a vector of one input matrix is held in one AVX register, which holds 8

elements). Consequently, while other columns of that matrix are traversed, the same set of FMA

instructions in the L1 cache is used repeatedly, meaning the instructions corresponding to a sparse

band of the sparse matrix are kept in the L1 cache. Moreover, a person of skill would have

understood that because Liu’s FMA instructions can fit in the L2 cache, because the tiles of

matrices A, B, and C are small (occupying only 20 KB, less than 8% of the 256 KB L2 cache), the

instructions can be streamed through the L2 cache and into the L1 instruction cache. These points

also are relevant to NMI’s alleged Trade Secret #1 (discussed more in Section V).

       93.      Based on these above disclosures from Liu, a person of skill in the industry with

knowledge of and experience with routine sparse matrix multiplication and JIT compiler

optimization techniques would have understood and been able to readily implement the alleged

algorithms and code that NMI claims are trade secrets.

       94.      Notably, while discussing Liu, Dr. Scott concedes the following (as he must):

       •     At least as early as 2015, it was publicly known that, “in the context of sparse matrix
             multiplication, loop unrolling encodes the occurrence of non-zero elements into the
             assembly code, in such a way that the number of FMA instructions in the assembly
             code is proportional to the number of those non-zeros,” Scott Decl. ¶ 81 (citing Liu);

       •     “Liu observes that the computational complexity and redundancy in the parameters of
             image classification and objection detection problems can be reduced by using sparse
             decomposition, which zeroes out more than 90% of the parameters, and therefore posits
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 33 of 71



             that, if it were possible to design an efficient sparse matrix multiplication algorithm for
             a CPU, a significant speedup could be realized over the original dense network,” Scott
             Decl. ¶ 81 (citing Liu at 807); and

       •     “Liu proposes that, because the convolutional kernels of fully trained networks are
             constant, ‘the location of non-zero elements are known and can be encoded directly in
             the compiled multiplication code,’” Scott Decl. ¶ 81 (citing and quoting Liu at 809-
             810, Fig. 3 (“showing an example of a sequence of unrolled non-zero operations that
             can be encoded into a program”).

       95.      In other words, Dr. Scott acknowledges that, in 2015, it was publicly known that

(i) loop unrolling in sparse matrix multiplication could encode non-zero elements into assembly

code such that the number of FMA instructions is proportional to the number of non-zero elements,

(ii) sparse matrix multiplication algorithms could realize significant speedups on CPUs, and (iii) in

sparse matrix multiplication programs for trained networks, the values and the locations of non-

zero elements are known and thus can be encoded directly into compiled multiplication code.

       96.      Dr. Scott tries, but fails, to distinguish Liu.

       97.
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 34 of 71



       99.

                                                     For example, the code generated by FBGEMM

iterates over vertical strips of the B matrix tile, each having a width of a vector register, just like

Liu:




Ex. U, FbgemmSpMM.cc (March 1, 2020) at lines 667-683. In more detail, this code shows a

generated loop that iterates over the columns of B and C matrices. At lines 673-674, after the

function call at line 671 is completed, the values in the B and C registers are incremented by

WIDTH_BYTES, which is 64 bytes, the width of a ZMM register in the AVX-512 instruction set.

See Ex. V, Util.h at 85. In addition, modeling after Liu’s method, FBGEMM’s generated unrolled

FMA instruction sequence also fits in the L1 I-cache. At lines 1032-1041 of FbgemmSpMM.cc

(Ex. U), variable effK is limited to 192/4 = 48 columns of the A matrix. Since the unrolled loop

iterates over 24 rows of the A matrix tiles, the FMA instruction sequence contains at most 48 x 24

= 1,152 instructions (8,064 bytes = 1,152 instruction x 7 bytes/instruction) (0% sparsity), which
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 35 of 71



       100.    Third, Dr. Scott asserts that “Liu makes no mention of the need to keep the unrolled

instructions of A in the L1 I-cache across multiple columns of B. (And indeed, if the outer loop

of the algorithm were to iterate over columns of B, the instructions of A would not remain so

resident).” Scott Decl. ¶ 130 (emphasis in original). Again, Dr. Scott errs. As I explained above,

a person of skill in the industry would have understood based on Liu that unrolled FMA

instructions of a sparse band of Liu’s sparse matrix are applied to every eight columns of Liu’s

input matrix, and can be maintained in L1 I-cache after streaming through the L2 cache. Notably,

Liu teaches that the “two main considerations of designing an efficient matrix multiplication

algorithm” are “computing throughput” and maximizing use of “caches to reduce memory access

latency,” and it teaches that “performance benefits can only be realized with a sparse matrix

multiplication algorithm that does not incur overhead.” Ex. T, Liu at 809. These further teachings

confirm that Liu cannot be distinguished based on an alleged failure to disclose keeping unrolled

instructions in the L1 I-cache—a person of skill in the industry would have known and been

motivated to do that, based on Liu (and knowledge of well-known optimization techniques).

       101.    Dr. Scott also claims that Liu makes no mention of compact FMA encoding or of

the latency of L2 accesses and the need for FMA input buffering. Scott Decl. ¶ 130. But as




       102.    Having provided the foregoing overview and discussion of Liu, I turn now to the

three problems that Dr. Scott argues existed in the industry before July 2019.
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 36 of 71



       B.       The Industry Knew That Loop Unrolling Computations On CPUs Were
                Workable

       103.     Dr. Scott incorrectly contends that “[c]ommentators observed . . . that performing

loop unrolling computations on CPUs was “unworkable due to . . . poor utilization of memory

bandwidth and instruction cache space,” Scott Decl. ¶ 83.

       104.     By July 2019, persons of skill in the industry knew that loop unrolling computations

were workable and could be performed on CPUs, and that numerous optimization techniques

existed for addressing memory bandwidth and instruction cache space concerns. For example, as

discussed in detail above, Liu discloses loop unrolling computations on CPUs, and it would have

been readily apparent to a person of ordinary skill in the art that Liu’s sparse matrix multiplication

algorithm could be implemented without running into unworkable memory bandwidth and cache

space issues.

       105.     The only commentator Dr. Scott identifies to support his contrary contention (and

attempt to sidestep Liu) is Facebook’s Dr. Jongsoo Park.         Dr. Scott calls Dr. Park a “vocal

skeptic[]” of Liu. But neither paper Dr. Scott cites shows that Dr. Park was a “vocal skeptic” of

Liu, and Dr. Park was not such a skeptic.

       106.     In the first paper Dr. Scott cites, Dr. Park and his colleagues introduce a high-

performance sparse convolution design that takes advantage of arbitrary sparsity patterns. Park

Decl., Ex. W at 2. Dr. Park’s focus was on larger and denser matrices. See Park Decl., Ex. W at

at 1 (“While suitably designed and trained CNNs can be powerful, they are often large – requiring

many parameters (e.g., the celebrated AlexNet (Krizhevsky et al., 2012) has 60 millions).”), 7

(“[Avoiding pruning conv1 in AlexNet] leads to less than 0.2 non-zero density for conv2-5”). And

while Dr. Park does note that Liu’s approach can “involve[] lowering overhead and … full

unrolling that leads to a large instruction footprint,” Park Decl., Ex. W at 10, a person of skill in
          Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 37 of 71



the industry would have understood that the concerns Dr. Park expressed (i) relate primarily to

issues unrelated to NMI’s claims, namely “lowering,” a technique that transforms (lowers)

convolution into matrix multiplication, and (ii) are not pressing in machine learning applications

involving smaller and less dense matrices,3 e.g., where instructions of the unrolled loops can fit

inside L1 cache (as in Liu, see ¶ 91 (above)). Dr. Park also noted in his paper that Liu discloses

advantageous methods of achieving speedups. Park Decl., Ex. W at 10.

         107.    The second paper Dr. Scott cites is just an earlier version of the paper discussed

immediately above. It presents a bandwidth-efficient sparse convolution method and a highly-

optimized sparse CNN implementation. Park Decl., Ex. X at 2. Here too, Dr. Park was focused

on relatively large datasets. See Park Decl., Ex. X at 7 (“Our evaluation uses batch size of 144 and

32 for BDW and Atom, multiples of the number of threads in respective platforms.”). And for

reasons discussed, while Dr. Park notes in passing that some known approaches for optimizing

sparse convolutional neural network computations, including Liu’s, face certain challenges in

achieving their full potential (such as lower arithmetic intensity and higher overhead), Park Decl.,

Ex. X at 1-2, this does not make Dr. Park a “vocal skeptic” of loop unrolling in sparse matrix

multiplication applications.

         108.    To the contrary, Dr. Park was utilizing loop unrolling in his sparse matrix

multiplication work (i) at least as early as November 2015 when he was at Intel, see Park Decl. ¶

7 (discussing HPCG competitions and Dr. Park’s participation in same); Park Decl., Exs. B-F; see

also Ex. W, Park et al., High-Performance Algebraic Multigrid Solver Optimized for Multi-Core

Based Distributed Parallel Systems, Supercomputing, 5 (Nov. 2015) (stating that the innermost

loop of the sparse matrix multiplication is unrolled), and (ii) at Facebook before Dr. Zlateski


3
    Discussion with Dr. Park on April 22, 2020; see also Park Decl. ¶ 33.
          Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 38 of 71



joined, see Park Decl. ¶¶ 12-14; Ex. X, Park, Deep Learning Inference in Facebook Data Centers:

Characterization, Performance Optimizations and Hardware Implications, arXiv 4 (Nov. 2018)

(operation performed on embedding tables is sparse matrix multiplication); Park Decl., Ex. O,

“OptimizedKernelsAvx2.cc,”        lines   214-279    (Dec.   5,   2018)   (for-loop   in   function

spmdmKernelAvx2 is unrolled four times and uses AVX2 multiply-add instructions in the unrolled

loop to implement sparse matrix–dense matrix multiplication); Park Decl., Ex. N,

“FbgemmI8Spmdm.cc,” lines 329-394 (Oct. 30, 2018) (for-loop in function SpMDM is unrolled

four times and uses AVX2 multiply-add instructions in the unrolled loop to implement sparse

matrix–dense matrix multiplication).4

         109.    Furthermore, before July 2019, persons of skill in the industry understood the need

to balance accuracy, speed, and size in neural network designs, including sparse matrix

multiplication processes. And numerous methods for doing this were known—publicly and to

Facebook (as discussed more below)—including methods directed to optimizing loop unrolling

processes and memory and cache use.

         110.




4
    Discussion with Dr. Park on April 22, 2020.
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 39 of 71



https://github.com/pytorch/pytorch/blob/080fab8f6c82daa93b478267f3a604e1bdb8083f/caffe2/p

erfkernels/embedding_lookup_avx2.cc#L7.5




5
 Caffe2 is a well-known artificial intelligence (AI) project that originated at Facebook and was
open sourced at least as early as May 2017. See Ex. MM, Facebook Blogpost (May 2, 2018),
available at https://caffe2.ai/blog/. The Caffe2 project merged with another well-known AI
project, Pytorch, in the summer of 2018. Ex. NN, Caffe2 Merges With PyTorch (Apr 2, 2018),
available at https://medium.com/@Synced/caffe2-merges-with-pytorch-a89c70ad9eb7.
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 40 of 71




       C.      The Industry Knew That Loop Unrolling Techniques For GPUs Could Be
               Applied To CPUs

       113.    Dr. Scott incorrectly argues that industry did not know that “GPU-based loop

unrolling” could be applied “to a CPU platform” in July 2019. See Scott Decl. ¶¶ 84-86.

       114.    In this argument, Dr. Scott discusses a paper authored by Bartosz D. Wozniak, from

the Department of Computing, Imperial College London, UK. Ex. AA, Wozniak, et al., GiMMiK–

Generating bespoke matrix multiplication kernels for accelerators: Application to high-order

Computational Fluid Dynamics, Computer Communications 202 (2016).

       115.    As Dr. Scott concedes, Wozniak discloses loop unrolling in sparse matrix

multiplication compiler applications. See Scott Decl. ¶ 84 (“Wozniak presents a kernel generator,

called GiMMiK, that ‘fully unrolls the matrix-vector product and embeds matrix entries directly

in the code to benefit from the use of the constant cache and compiler optimisations’ and ‘reduces

the number of floating point operations by removing multiplications by zeros.’”). Wozniak also

discloses cache and register blocking, confirming that these optimization techniques were known.

See Ex. AA § 3.1 (“Value embedding”; “This optimization also exposes the opportunity for the

compiler to store the embedded values in registers for efficient reuse,” i.e., register blocking), § 3.2



                                                                             . As discussed more in

Section V below, these are some of the features that NMI incorrectly asserts are proprietary to it.

       116.    Dr. Scott states that “one cannot simply take Wozniak’s [GPU] implementation . . .

and apply it to a CPU platform.” Scott Declaration ¶ 86. But the import of Wozniak’s disclosures

cannot be sidestepped in this manner. Wozniak teaches the loop unrolling NMI claims as
           Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 41 of 71



proprietary, in the context of GPU computing. And before NMI was founded, a person of skill in

the industry would have known and been motivated to use such techniques in CPU contexts, e.g.,

based on references like Liu, which disclosed a CPU-based implementation of a sparse matrix

multiplication algorithm, and the other references discussed above (e.g., Herruzo, Williams, and

Bramas). In fact, it would have been easier to implement these techniques on CPUs because these

optimization techniques, including the ones proposed in Wozniak’s publication, have traditionally

been studied in the context of the CPU and can be readily applied to CPUs.

           D.     The Industry Did Not Prefer Compress Sparse Row Encoding Over Other
                  Sparse Processes, And Even If It Did, That Is Irrelevant

           117.   Dr. Scott asserts that the industry strongly preferred compress sparse row (CSR)

encoding, which Dr. Scott calls the “prevalent” approach to using sparse matrix multiplication for

neural network computations on CPUs. Scott Decl. ¶ 87. Dr. Scott is wrong.

           118.   In support of this assertion, Dr. Scott cites the 2016 paper authored by Dr. Park

2016 (discussed above) and a paper by Erich Elsen. Scott Decl. ¶ 87. But neither paper

demonstrates that a CSR approach is more prevalent than other approaches. See Park Decl., Ex.

W, Park, Faster CNNs With Direct Sparse Convolutions and Guided Pruning; Ex. BB, Elsen, et

al., Fast Sparse Convnets, arXiv (2019).

           119.   In addition, I understand that prevalence has no bearing on the parties’ dispute—

public domain approaches to sparse matrix multiplication (prevalent or not) cannot be trade

secrets.

           120.   Moreover, before 2019, Intel’s LIBXSMM library had already demonstrated that

the CSR matrix format and generating FMA instructions based on non-zero elements in a sparse

matrix could be combined. See Park Decl., Ex. Y, generator_spgemm_csr_asparse_soa.c at lines
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 42 of 71



205-376 (Mar. 11, 2018) (showing that LIBXSMM generates sparse matrix multiplication code

for non-zero elements of a sparse matrix in CSR format).

                                          *       *       *

       121.     For the foregoing reasons, it is my opinion that, long before July 2019, the industry

had already solved the alleged “problems with known approaches” that Dr. Scott posits, and

persons of skill in the industry were fully capable of implementing sparse matrix multiplication

processes utilizing the optimization techniques that NMI now claims are proprietary.

V.     NMI FAILS TO DEMONSTRATE THAT THE INFORMATION AT ISSUE
       CONSTITUTES TRADE SECRETS

       122.     I turn now to NMI’s alleged trade secret:




       123.     I address the elements of this alleged trade secret in the same order as Dr. Scott. As

an initial matter, though, I note that none of what NMI alleges is a trade secret is actually a secret

“algorithm”; NMI’s allegations relate to broad categories of concepts and optimization techniques

that are well-known and widely used in sparse matrix multiplication applications.

           A.

       124.
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 43 of 71



       126.    As an initial matter, I note that Dr. Scott’s and NMI’s description of “sparse

instruction streaming” does not follow precise, algorithmic steps. Rather, this alleged trade secret

cobbles together concepts involving well-known optimization techniques relating to dimension

selections, instructions, and cache usage. I further note that the phrase “sparse instruction

streaming” is not a term of art. I have never encountered that term before seeing it in Dr. Scott’s

declaration.

       127.    Dr. Scott divides NMI’s alleged Trade Secret #1 into two steps (and sub-steps):

       First, the NM GEMM JIT chooses tile sizes (dimensions M, K and N) and an output
       block size (dimensions r and c) such that (a) the entire tile of the input matrix, B,
       will fit in the L2 cache, (b) the unrolled instructions of an r × K sparse band of A
       will fit in the L1 I-cache, and (c) the unrolled instructions of the sparse band of A,
       the corresponding non-zero elements of A, and an r × c output block of C will fit,
       together (with a bit to spare), in the portion of the L2 cache not occupied by B.
       Second, the NM GEMM JIT arranges to execute FMA operations in a pattern that
       keeps B in the L2 cache throughout the full-tile computation, while simultaneously
       streaming the instructions of each sparse row band, the corresponding non-zero
       elements of A, and the output blocks of C through the L2 cache into the L1 caches
       and registers.

See Scott Declaration ¶¶ 99-100. I address these steps in the order Dr. Scott presented them—

alleged Trade Secret #1, Step 1(a), alleged Trade Secret #1, Step 1(b), alleged Trade Secret #1,

Step 1(c), and alleged Trade Secret #1, Step 2.

       Alleged Trade Secret #1, Step 1(a)

       128.    Choosing dimensions such that an “entire tile of the input matrix, B, will fit in the

L2 cache” (Scott Decl. ¶ 99) is not a trade secret.
Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 44 of 71
          Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 45 of 71



cache blocking, in contrast to the classical dense cache blocking approach.”); Ex. CC, Navarro et

al., “Block algorithms for sparse matrix computations on high performance workstations,”

International Conference on Supercomputing, 305 (1996) (discussing blocking algorithms for

sparse matrix multiplication). Such optimization methods were being used in Facebook’s Caffe2

project     as   early   as    August   2017.        See    Park    Decl.,   Ex.   P,   Smelyanskiy,

“embedding_lookup_avx2.cc” at lines 7-298 (Aug. 30, 2017) (Caffe2 deep learning framework

source code that performs an embedding look-up operation using sparse matrix multiplication on



http://vaigithub.com/pytorch/pytorch/blob/080fab8f6c82daa93b478267f3a604e1bdb8083f/caffe2

/perfkernels/embedding_lookup_avx2.cc#L7.

          Alleged Trade Secret #1, Step 1(b)

          133.   Choosing dimensions such that “unrolled instructions of an r × K sparse band of A

will fit in the L1 I-cache” (Scott Decl. ¶ 99) is not a trade secret.

          134.   Before July 2019, people of skill in the industry knew that loop unrolling needs to

be controlled so that “unrolled instructions of an r x K sparse band of [matrix] A will fit in the L1

I-cache” (Scott Decl. ¶ 99).

          135.   Microprocessors work best when instructions are readily available in the instruction

cache (I-cache). Typically, a sequence of instructions contained inside a loop is small, so it will
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 46 of 71




            ), available at https://link.springer.com/content/pdf/10.1007/3-540-57877-3_27.pdf;

Ex. EE, Hennessy & Patterson, Computer Architecture: A Quantitative Approach, 5th Ed., 161

(2012) (“A second limit to unrolling is the growth in code size that results. For larger loops, the

code size growth may be a concern particularly if it causes an increase in the instruction cache

miss rate.”).

        137.    Accordingly, unrolled instructions of an r x K sparse band of a matrix A fitting in

L1-I cache is not a trade secret.

        Alleged Trade Secret #1, Step 1(c)

        138.    Choosing dimensions such that “unrolled instructions of the sparse band of A, the

corresponding non-zero elements of A, and an r × c output block of C will fit, together (with a bit

to spare), in the portion of the L2 cache not occupied by B” (Scott Decl. ¶ 99) is not a trade secret.

        139.    For reasons already discussed, this is disclosed in Liu, which teaches matrix tiles

and unrolled instructions that will fit comfortably, with room to spare, in Liu’s L2 cache. See, e.g,,

Ex. T, Liu at Fig. 2; see also ¶¶ 84-86 and 91 (above). And this type of blocking or tiling was

well-known, publicly and to Facebook, before July 2019. See ¶ 130-132.

        Alleged Trade Secret #1, Second Step
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 47 of 71



       141.    This is not a trade secret. The pattern Dr. Scott describes is a form of software-

based cache partitioning, another well-known optimization technique. See generally Ex. FF,

Mueller, Compiler Support for Software-Based Cache Partitioning, ACM SIGPLAN Notices

(1995). The idea is a simple one: keep a matrix B tile small enough in L2 cache so there is enough

space to pass other data (e.g., data from matrices A and C) and instructions (FMA instructions)

through the L2 cache to the L1 caches. As noted above, Liu discloses storing a matrix B tile in the

L2 cache, with ample room to spare. See, e.g., Ex. T, Liu at Fig. 2. And having such unused space

allows other elements (e.g., data from matrices A and C and FMA instructions) to stream into the

L1 data and instruction caches; that is a standard operation. Consequently, to a person of skill in

the industry, the pattern of operations Dr. Scott emphasizes is disclosed by Liu.

       142.    Additional references confirm that such a pattern was well-understood, before July

2019. See Ex. GG, Whaley, Automatically Tuned Linear Algebra Software, Supercomputing, 9-

11 (1998) (teaching that matrices can be blocked in the L2 cache and cache reuse is maximized by

keeping one input matrix in the L1 cache and loading the instruction, the other input matrix, and

output matrix from the L2 cache into the L1 cache for computation); Zlateski Decl., Ex. R, Goto,

Anatomy of High-Performance Matrix Multiplication, ACM Transactions on Mathematical

Software, 8 (May 2008) (describing the conditions where one input matrix can be kept in L2 while

data from the other input matrix and the output matrix are loaded into the L1 cache for

computation); Ex. HH, Guo, Applications of the streamed storage format for sparse matrix

operations, The International Journal of High Performance Computing Applications, 4-5 (2014)
Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 48 of 71
Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 49 of 71
Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 50 of 71
          Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 51 of 71



output buffers to hold C matrix data. See Ex. T, Liu § 4.3 and Fig. 3. This means that each block

of C is only streamed through the L2 cache and into the vector registers once. Dr. Scott offers no

explanation for why Liu’s algorithm would deviate from such standard, well-known behavior.

             B. “Compact FMA Encoding” Is Not A Trade Secret

          152.   Dr. Scott describes NMI’s alleged Trade Secret #2 as follows: “The NM GEMM

JIT minimizes the size of each FMA instruction to maximize the number of such instructions that

can reside simultaneously in the L1 I-cache.” Scott Decl. ¶ 108. In Dr. Scott’s view, this “helps

reduce the total memory bandwidth required for streaming the instructions, and avoids any

bottleneck that might be caused by limits on the number of bytes of instructions that the processor

can decode in a single cycle.” Scott Decl. ¶ 108. Specifically, Dr. Scott states that the NM GEMM

JIT employs an encoding of the FMA instruction that “occupies only 7 bytes, instead of the usual

10,” which decreases “instruction pressure” by 30%, because “the reduction from 10 to 7 bytes

can determine” whether unrolled instructions fit in L1 I-cache. Scott Decl. ¶¶ 110-111.

          153.   This “compact FMA encoding”—NMI’s alleged “Trade Secret #2”—is not a trade

secret.

          154.   As an initial matter, I note that Dr. Scott’s and NMI’s description of “compact FMA

encoding” does not follow precise, algorithmic steps. Rather, this alleged trade secret cobbles

together concepts involving well-known techniques for minimizing FMA instructions.

          155.   In addition, Dr. Scott is wrong that the “usual” FMA instruction is 10 bytes, not 7.

10-byte instructions are used when matrix size is relatively large and requires a 32-bit displacement
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 52 of 71



frequently use blocking to subdivide large matrices into smaller tiles. See, e.g., Ex. T, Liu at 809-

810, Fig. 2.

       156.    Dr. Scott argues that 7-byte FMA instructions are advantageous (and a trade secret)

because current Intel processors can fetch and decode up to 16 bytes of instructions every cycle.

Thus, two FMA instructions can be issued in each cycle of an Intel CPU, “nearly doubling

processor performance.” Scott Decl. ¶ 112. Any programmer would have understood, long before

NMI was founded, that a processor capable of fetching 16 bytes of instructions (a typical value)

could fetch two instructions at a time so long as those instructions were 8 bytes or less, including
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 53 of 71




Zlateski Decl., Ex. Z, avx512_with_scatter.hpp, available at https://bitbucket.org/poozh/ond-

winograd/src/master/include/znn/asm/avx512_with_scatter.hpp.
         Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 54 of 71



SIB scale-index-base (SIB) addressing mode is utilized.”); see also Zlateski Decl., Ex. X, Bramas

at 11 (presented assembly code includes the vfmadd231pd instruction, which is 7 bytes long).

Such processes also were being used at Facebook as early as August 30, 2017. Park Decl., Ex. P,

Smelyanskiy, “embedding_lookup_avx2.cc” (Aug. 30, 2017) (Caffe2 deep learning framework

source code performing sparse matrix multiplication and using AVX2 FMA instructions having

compact FMA encoding, which would enable a CPU to fetch two instructions per cycle that can

reside        simultaneously          in        L1-I         cache),         available         at

https://github.com/pytorch/pytorch/blob/080fab8f6c82daa93b478267f3a604e1bdb8083f/caffe2/p

erfkernels/embedding_lookup_avx2.cc#L7.

           C. “FMA Input Buffering” Is Not A Trade Secret
         Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 55 of 71



as buffers to hold loaded data. This use of registers to buffer data is similar to the tiling and

blocking discussed above, but instead of applying blocking to optimize cache usage, blocking is

used to optimize register usage. See Ex. II, Lam, Software Pipelining: An Effective Scheduling

Technique for VLIW Machines, SIGPLAN, 322-323 (1988) (teaching that adjacent iterations of a

loop can be scheduled together to form a software pipeline and different registers can be used to

allow overlapping of the execution. Example on 322 further shows that a register is loaded

immediately after it is used by the last iteration).

        164.    NMI is not the first company to realize that performance can be optimized by hiding

data access latency and using register blocking. Far from it. People of skill in the industry have

known for years that register blocking—sometimes called “input buffering”—can be used to

optimize CPU performance, and multiple papers that predate NMI show the use of CPU registers

to buffer input blocks. See, e.g., Zlateski Decl., Ex. W (Heinecke) at 8 (“Second, we pipeline the

loads of rows per column k of A to get them as early as possible into the core’s pipeline. This is

easily doable as registers zmm0-13 are still unused: we implement a 6-register ring-buffer of A

column-vectors.”); Ex. Z, Williams at 6 (“Register blocking groups adjacent nonzeros into

rectangular tiles, with only one coordinate index per tile … For this paper we limit ourselves to

power-of-two block sizes up to 8 × 8 (and on Cell, 8 × 2), to facilitate SIMDization, minimize

register pressure, and allow a footprint minimizing heuristic to be applied.”); Ex. JJ, Lam, The

Cache Performance and Optimization of Blocked Algorithms, ASPLOS 1991, 1-2 (“Blocking can

be applied to any and multiple levels of memory hierarchy, including virtual memory, caches,
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 56 of 71




              ailable registers, the latency of loads, and the sparsity of the weight matrix” (matrix

A). Scott Decl. ¶ 120. And, in Dr. Scott’s view, that discovery led to NMI’s development of “the

following proprietary formula for the Intel x86 AVX512 instruction set:

                                    S * (P – 1) * (32 – P) ≥ 12

where s = sparsity, (32–P) = C matrix block size and P = B matrix buffer size.” Scott Decl. ¶ 120;

see also Scott Decl. ¶ 124 (reproducing avx512.hpp (“We have to find minimal value of 1 <= P

<= 16 such that s(P-1)(32-P) >= 12”)).

       166.    Importantly, Dr. Scott fails to show that Facebook uses NMI’s allegedly proprietary

formula, and I have seen no evidence to suggest that Facebook does use this formula. The accused

FBGEMM code uses 8 registers for input buffering and 24 for the output block. Dr. Scott argues

that those numbers are consistent with use of NMI’s formula “for 90% sparsity,” which Facebook

allegedly “targeted.” Scott Decl. ¶ 152. But Dr. Scott miscalculates the minimal value of P for

which the allegedly proprietary relationship would hold true. Dr. Scott incorrectly states that if

sparsity is 90% (and hence s = 0.1), “the minimal value of P is eight (8).” Scott Decl. ¶ 121.

Applying NMI’s formula, the minimal value of P for 90% sparsity is six (6).
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 57 of 71




           D. The Union of Sparse Instruction Streaming, Compact FMA Encoding, and
              FMA Buffering Is Not A Trade Secret

       168.    Dr. Scott opines that NMI’s “incorporation of the three mechanisms discussed

above into a single compiler design in sparsity” “requires balancing” those mechanisms’

“competing constraints” and is a fourth trade secret. Scott Decl. ¶ 122. I disagree.

       169.    Before July 2019, persons of skill in the industry, including engineers at Facebook,

understood that when optimizing neural network designs, there is a need to balance accuracy,

speed, and size. See Ex. Y, Herruzo at 411-412; Ex. Z, Williams at 5; Zlateski Decl, Ex. X, Bramas

at 11; Park Decl., Ex. P, Smelyanskiy, “embedding_lookup_avx2.cc.” Any time such a person

used well-known blocking techniques, small FMA instructions, and input buffering, the person
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 58 of 71




VI.    NMI AND DR. SCOTT FAIL TO SHOW MISAPPROPRIATION

       171.    Dr. Scott opines that there is “substantial evidence” of misappropriation based on

(A) “Facebook’s [alleged] shift in direction upon Zlateski’s arrival,” (B) a comparison of the

assembly code for NMI’s NMGEMM JIT and the FBGEMM JIT, (C) Dr. Scott’s inspection of the

FBGEMM JIT source code, and (D) a typo in an FBGEMM_LOG_CODE file. None of Dr.

Scott’s analyses survives scrutiny, for reasons discussed below.

           A. The Accused Code Does Not Show An “Unexpected Shift” In Approach For
              FBGEMM

       172.    Dr. Scott incorrectly contends that the accused FBGEMM code represents an

“unexpected shift” or “sudden pivot” in Facebook’s sparse matrix multiplication work. Scott Decl.

¶¶ 138, 159.

       173.    I understand from Dr. Park that before Dr. Zlateski joined Facebook, FBGEMM

was using loop unrolling in sparse matrix multiplication applications. See Park Decl. ¶¶ 12-14;

Discussion with Dr. Park on April 22, 2020. Indeed, I reviewed the materials Dr. Park cites in his

declaration on this issue, and those materials refute Dr. Scott’s claim that the accused FBGEMM
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 59 of 71



code was an “unexpected shift,” “significant departure,” or “sudden pivot” from earlier FBGEMM

code (Scott Decl. ¶¶ 138, 141, 159).          See Park Decl. ¶¶ 12-14; Park Decl., Ex. M,

“fbgemm_i8_spmdm.cc,” lines 154-214 (May 24, 2018) (using unrolled AVX2 instructions to

perform sparse matrix–dense matrix multiplication); Park Decl., Ex. N, “FbgemmI8Spmdm.cc,”

lines 329-394 (Oct. 30, 2018) (for-loop in function SpMDM is unrolled four times and uses AVX2

multiply-add instructions in the unrolled loop to implement sparse matrix–dense matrix

multiplication); Park Decl., Ex. O, “OptimizedKernelsAvx2.cc,” lines 214-279 (Dec. 5, 2018) (for-

loop in function spmdmKernelAvx2 is unrolled four times and uses AVX2 multiply-add

instructions in the unrolled loop to implement sparse matrix–dense matrix multiplication); Park

Decl., Ex. R, “GenerateKernelU8S8S32ACC32Avx512.cc,” lines 64-79 (Jul. 1, 2019) (for-loop in

function genComputeBlock uses the JIT compiler to generate fully unrolled AVX-512 instructions

to perform rank k update of an accumulation kernel); see also Park Decl., Ex. Q, Khudia, Open-

sourcing FBGEMM for state-of-the-art server-side inference, Facebook Engineering blog post

(Nov. 7, 2018) (describing sparse matrix multiplication performed on a portion of a B matrix, using

FMA               instructions);            Park              Decl.             Ex.             S,

https://gist.github.com/ajtulloch/439191f566cfe433ac7e1d7cea627368 (posted July 29, 2019)

(Facebook using Tensor Virtual Machine or TVM deep learning compiler to improve

computational efficiency of sparse matrix multiplication using, among other things, loop unrolling

and AVX-512 instructions).

       174.    Moreover, even if FBGEMM used each of NMI’s alleged trade secrets (it does not),

that use could not constitute Dr. Scott’s alleged “unexpected shift” or “significant departure.”

NMI’s purported trade secrets are routine optimization techniques that were known publicly and

to Facebook before July 2019. Use of such techniques is neither unexpected nor significant.
          Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 60 of 71



          175.   Dr. Scott also contends, in a single bullet point, that “the short timeline to a

successful implementation of loop unrolling” shows misappropriation. Scott Decl. ¶ 159. Dr.

Scott, however, offers no evidence supporting this conclusory statement, e.g., evidence of ordinary

development times for sparse matrix multiplication code.

          176.   Regardless, there is nothing unusual about the timeline here—approximately two

months for the development and implementation of a small piece of code based on public domain

information and well-known optimization techniques. I note that the documents Dr. Scott relies

on for his assertion that the optimization techniques at issue are trade secrets show that Dr. Zlateski

“figured out” those techniques “over the weekend.” See Scott Decl. ¶ 168; see also Scott Decl.

Ex. 18 (Dr. Zlateski, discussing his work at NMI: “Yep, better than I was hoping for... I was

restless over the weekend, and figured out efficient ways of computing for AVX512”) (emphasis

added).

             B. Dr. Scott’s Flawed Analysis Of NMI’s and Facebook’s Assembly Code Does
                Not Show Misappropriation

          177.   Dr. Scott’s comparison of NMI’s and Facebook’s assembly code does not show

misappropriation.

          178.   First, Dr. Scott concedes that for his comparison, he altered NMI’s code to use

information found in Facebook’s code. See Scott Decl. ¶ 143 n.14 (Dr. Scott notes that he

“hardcode[d] the size of the output buffer to 24 in the NM GEMM JIT code instead of using the

NM formula, as done in the FBGEMM JIT.”).




                                                                                            . It is not

“nearly impossible to get two independently developed compilers to emit the same assembly code”
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 61 of 71



(Scott Decl. ¶ 150) when you alter the first compiler’s code (NM GEMM JIT) to align with that of

the second (FBGEMM). In fact, by hardcoding the values from FBGEMM into NMI’s compiler

code, Dr. Scott seems to have forced results to come out the same, which would not have happened

absent this change to FBGEMM.

       179.    Second, despite allegedly performing “1,000 test cases,” Dr. Scott provides only

snippets of information for four FMA instructions. See Scott Decl. ¶ 148. This prevents a

meaningful review of Dr. Scott’s analysis. For example, Dr. Scott does not provide the input

matrices for even a single test. Thus I cannot replicate and/or confirm the results of his testing.

       180.    Third, Dr. Scott does not disclose the input data used for his testing. As noted, this

prevents independent evaluation of the purported results of that testing. As noted, this prevents

independent evaluation of the purported results of that testing.        If Dr. Scott had provided

information concerning his testing conditions and inputs, I could have determined whether his

alleged results are accurate. Because he failed to disclose that information, his results are

unreliable.

       181.    Fourth, as Dr. Scott admits, there are differences between NMI’s assembly code

(the portions of that code Dr. Scott chose to present) and the accused FBGEMM code. See Scott

Decl. ¶¶ 146-147. These differences are material.
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 62 of 71




       182.    For at least these reasons, Dr. Scott’s (unconfirmed and doctored) assembly code

tests fail to demonstrate misappropriation.

           C. Dr. Scott’s Flawed Source Code Inspection Does Not Show Misappropriation

       183.    Dr. Scott contends that he demonstrated misappropriation through an inspection of

the FBGEMM JIT code. Scott Decl. ¶ 151. He did not.

       184.    To begin, Dr. Scott points to what he believes is an “unusual and distinctive naming

convention” drawn from NMI’s code. Scott Decl. ¶ 151. However, the variables Dr. Scott

identifies—“ArCr, AcBr, and BcCc”—were used by Dr. Zlateski in his research before NMI, e.g.,

in code Dr. Zlateski posted to BitBucket in December 2017, which became publicly available

before Dr. Zlateski joined Facebook. See Zlateski Decl., Ex. K at lines 10-15, available at

https://bitbucket.org/poozh/znnunified/src/master/code/include/znn/jit/gemm/avx512.hpp.

       185.    Also, substantively, these variables cannot be trade secrets. They are just Dr.

Zlateski’s straightforward way of identifying rows and columns used to multiply matrix A by

matrix B to yield a resulting matrix C, following a standard matrix multiplication process. Matrix

A consists of “M” number of rows and “K” number of columns. Matrix B consists of “K” rows

and “N” columns. Matrix C consists of “M” rows and “N” columns. The “M” number of A matrix

rows and C matrix rows match, so Dr. Zlateski refers to “M” as “ArCr.” The “K” number of A

matrix columns and B matrix rows match, so Dr. Zlateski refers to “K” as “AcBr.” And the “N”

number of B matrix columns and C matrix columns match, so “BcCc” is used. Zlateski Decl.

¶¶ 43-45. As Dr. Scott acknowledges, these variables were later renamed in the FBGEMM code

to the “idiomatic” “M, N, and K.” Scott Decl. ¶ 151.
Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 63 of 71
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 64 of 71




Zlateski Decl., Ex. K, avx512.hpp, lines 28-37.
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 65 of 71



l




       192.   Last, Dr. Scott notes that “one of Facebook’s commits on GitHub” was titled

“porting Alek’s sparse convolution using asmjit (#168).” Scott Decl. ¶ 154. That title does not

demonstrate misappropriation.    It merely evidences what happened.       Dr. Park rewrote and

incorporated into FBGEMM code that Dr. Zlateski provided—code that, for reasons discussed,

does not contain any NMI trade secrets.

           D. One Typo In The FBGEMM_LOG_CODE Does Not Demonstrate
              Misappropriation

       193.   Dr. Scott identified a typo in an FBGEMM_LOG_CODE file in the FBGEMM

code. Scott Decl. ¶¶ 155-158. That typo does not establish misappropriation.

       194.   First, I note that, while NMI’s brief appears to imply the opposite, Dr. Scott does

not allege that this typo existed in NMI’s NM GEMM JIT code and somehow carried over into
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 66 of 71



the FBGEMM code. This is merely a typo that, at some point, was introduced into Facebook’s

code, completely independent of NMI.

       195.    Second, I disagree with Dr. Scott’s opinion that this typo shows that the accused

FBGEMM code was “created by incrementally modifying [NMI’s] source code, which was

already working.” Scott Decl. ¶ 158. The FBGEMM_LOG_CODE file is simple code designed

to log generated assembly code. See Scott Decl. ¶ 155, Ex. 10, FbgemmSpMM.cc (lines 450-477).

The operation of the rest of the FBGEMM code is not dependent on the function of this code. And

for reasons Dr. Park explains in his declaration, Facebook would not have used the

FBGEMM_LOG_CODE file to determine whether the rest of the FBGEMM code was operating

correctly. See Park Decl. ¶¶ 28-29; Discussion with Dr. Park on April 22, 2020. Facebook relies

on other tools for debugging that require less manual work than review of the information the

FBGEMM_LOG_CODE file produces when operational. Park Decl. ¶¶ 28-29; Discussion with

Dr. Park on April 22, 2020.

VII.   DR. SCOTT FAILS TO SHOW THAT THE ALLEGED TRADE SECRETS
       WERE NOT GENERALLY KNOWN

       196.    Dr. Scott contends that “the algorithms underlying [NMI’s] Sparse GEMM JIT

Compiler were not generally known.” Scott Decl. ¶ 160. But none of the documents Dr. Scott

cites support this contention, and in a number of instances, they undercut it.

       197.    Dr. Scott cites an email thread containing emails between Dr. Zlateski, other

employees at NMI, and NMI’s patent prosecution counsel. See Scott Decl. ¶ 161, Ex. 14. This

email thread discusses what NMI hoped to target with claims in a patent application, i.e., the

aspects of NMI’s work that NMI deemed innovative and patentable. Scott Decl., Ex. 14. And in
          Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 67 of 71




          199.   The other documents Dr. Scott cites similarly fail to show that NMI’s alleged trade

secrets were not generally known. Dr. Park’s 2015 and 2016 papers do not show that Dr. Park

was a vocal skeptic of Liu, for reasons discussed above. See Section IV.B. The Facebook article

and blog post cited by Dr. Scott do not show that Facebook believed loop unrolling to be

impractical; they address other Facebook projects and do not relate to FBGEMM. See Scott Exs.

5 and 6. And the NMI “Hangout messages” Dr. Scott cites reveal only (i) that NMI was




8
    Dr. Scott selectively quotes this email, omitting the language emphasized.
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 68 of 71



experimenting with sparse matrix multiplication (Scott Decl. Ex. 15), (ii) Dr. Matveev could not

understand Dr. Zlateski’s code based on an IM chat, so Dr. Zlateski had to explain it to him on a

whiteboard (Scott Decl. Ex. 17), and (iii) the processes Dr. Scott argues “required greater insights”

were “figured out” by Dr. Zlateski “over the weekend” (Scott Decl. Ex. 18 p.11). Furthermore,

with respect to the whiteboard and related memorandum (Scott Decl. ¶ 166, Ex. 2), as discussed

above (see Section V.D), Dr. Scott offers no evidence that the formulas and relationships

delineated are trade secrets or used by FBGEMM; he merely cuts and pastes information contained

in the document and image he cites. See Scott Decl. ¶¶ 166-167.

       200.    Last, citing another “Hangout message,” Dr. Scott states that “Zlateski’s data also

showed that [NMI] achieved 2.8x to 3.5x speedup in a commercial network provided by Wayfair,

LLC, outperforming a GPU-based alternative.” See Scott Decl. ¶ 169, Ex. 19.9 First, to the extent

Dr. Scott implies that NMI’s alleged solution was implemented in a commercially deployed

network, it was not. The Hangout message addresses testing that was done in-house, at NMI.

Scott Decl. Ex. 19; Zlateski Decl. ¶ 50. Second, there is no hard data in the Hangout message

thread. Rather, Drs. Matveev and Zlateski merely discuss preliminary, approximate results of

testing run on code with “definite[] scaling problem[s].” Scott Decl. Ex. 19. This is not evidence
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 69 of 71



VIII. NMI AND DR. SCOTT FAIL TO SHOW THAT NMI’S ALLEGED TRADE
      SECRETS PROVIDE A COMPETITIVE ADVANTAGE OVER INFORMATION
      KNOWN IN THE INDUSTRY

       201.    Dr. Scott fails to show that NMI’s alleged trade secrets provide NMI a competitive

advantage over information already known to engineers and other persons of skill with knowledge

of machine learning, artificial intelligence, matrix multiplication, and related optimization

techniques. First, for reasons discussed above, NMI’s alleged trade secrets relate to optimization

techniques that were well-known and widely implemented before July 2019. See Section V.

Second, even if the information at issue constituted trade secrets (it does not), Dr. Scott offers no

evidence that those purported trade secrets provide value by affording NMI a competitive

advantage in the industry.

       202.    In opining on this issue, Dr. Scott cites the Wozniak paper discussed above, Scott

Decl. ¶ 172; another paper that notes that “[d]uring [the] past few years, a mass of research has

been proposed in th[e] area” of “train[ing] sparse networks,” Scott Decl. ¶ 173; a Facebook

publication concerning recommendation systems and neural network-based recommendation

models, Scott Decl. ¶ 174; and a Facebook presentation that shows that such systems are frequently

used at Facebook, Scott Decl. ¶ 174. None of these publications address, let alone demonstrate,

the value of NMI’s alleged trade secrets.

       203.    Dr. Scott also asserts that “[a]s a measure of economic value,” NMI’s technology

“could help eliminate the need to upgrade the hardware of tens of thousands of machines in

Facebook’s data centers—machines that serve billions of people,” and he claims that “Facebook

acknowledged the enormous return-on-investment of such a solution stating that ‘it’s six times

faster basically for free.’” Scott Decl. ¶ 175. In the presentation Dr. Scott cites, the Facebook

presenter never mentions the number of machines in Facebook’s data centers, hardware upgrades,

or eliminating such upgrades. Nor does he mention “return-on-investment.” Rather, he notes that
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 70 of 71



outside of training models for particular architectures, the FBGEMM code is “obvious stuff when

you think about it.”10

       204.    Dr. Scott further states that the fact that Facebook attributed improvement in

FBGEMM performance to Drs. Zlateski and Park shows economic value tied to NMI’s trade

secrets. Scott Decl. ¶ 176. Facebook thanked Drs. Zlateski and Park for their contributions to the

FBGEMM code because they contributed to that code. This does not demonstrate that NMI’s

alleged trade secrets provided NMI with a competitive advantage over information already known

to engineers and other persons of skill with knowledge of machine learning, artificial intelligence,

matrix multiplication, and related optimization techniques.

       205.




10
  https://www.youtube.com/watch?v=npqO0hVXZwU&feature=youtu.be&list=PLTPQEx-
31JXjA2ZmvYT5s0RqDXFXTSjyL&t=5861 at 1:51:00-1:58:00.
        Case 1:20-cv-10444-DJC Document 60 Filed 05/01/20 Page 71 of 71



       I declare under penalty of perjury that, to the best of my knowledge, the foregoing is true

and correct.


       Executed in _____________, Massachusetts, on April 23, 2020.




                                                David Kaeli, Ph.D.
